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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


HORSE, et al.,

             Plaintiffs,

       v.                                  Civil Action No. 17-1216 (ABJ)

DISTRICT OF COLUMBIA, et al.,

             Defendants.


                                     NOTICE

      On April 6, 2018, as directed by the Court’s April 5, 2018 Minute Order,

defendants delivered to the Court sealed Exhibits A, B, and H, which are filed in

support of Defendant John Doe’s Motion to Dismiss or, in the Alternative, Motion for

Summary Judgment [40]. Copies of the files were provided to plaintiffs.

Dated: April 6, 2018.           Respectfully submitted,

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                                Attorney General for the District of Columbia

                                TONI MICHELLE JACKSON
                                Deputy Attorney General
                                Public Interest Division

                                /s/ Fernando Amarillas
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                                Acting Chief, Equity Section

                                /s/ Amanda J. Montee____________
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